            Case 1:21-cr-00158-RC Document 32 Filed 06/29/21 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                                              :
               v.                             :       CRIMINAL NUMBER 21-158
                                              :
                                              :
KYLE FITZSIMONS                               :


       RESPONSE TO APPLICATION REGARDING VIDEO EXHIBIT RELEASE

       Kyle Fitzsimons, by and through his attorney, Natasha Taylor-Smith, Assistant Federal

Defender, Federal Defender Office for the Eastern District of Pennsylvania, hereby responds to

the Court’s June 24, 2021 email communication directing the parties to respond to petitioners’

request to access video exhibits submitted to the Court in the above-captioned case. The

petitioner represents 16 news organizations and proposes that this Court release video exhibits

used in a pretrial detention hearing in this case, pursuant to the procedure outlined by this Court

in Standing Order 21-28 (BAH) in In re Press Coalition’s Motion for Access to Video Exhibits

and to Set Aside Standing Order No. 21-28, Case No. 21-mc-90. The government responded to

this request on June 25, 2021 and explained that it does not oppose their disclosure. See Dkt. No.

31. For the reasons stated below, defendant Kyle Fitzsimons objects to the release of these video

exhibits.

       I.      Governing Authority

       The Supreme Court has recognized that the public has a general right to inspect and copy

public records and documents, including judicial records and documents. Nixon v. Warner

Commc’ns, 435 U.S. 589 (1978). Considering this general right, there is a “strong presumption in
              Case 1:21-cr-00158-RC Document 32 Filed 06/29/21 Page 2 of 6




favor of public access of judicial proceedings, including judicial records.” Id. However, there are

cases where that presumption may be outweighed by competing interests. In Re Leopold, 964

F.3d 1121, 1127 (D.C. Cir. 2020). With regard to judicial records that are subject to a sealing

order, the D.C. Circuit Court has instructed courts to use the test set forth in United States v.

Hubbard, 650 F.2d 293 (D.C. Cir. 1980), when deciding whether these judicial records should be

made available to the public by the Court. This balancing test assesses the following factors:

                 (1) the need for public access to the documents at issue; (2) the
                 extent of previous public access to the documents; (3) the fact that
                 someone has objected to disclosure, and the identity of that person;
                 (4) the strength of any property and privacy interests asserted; (5)
                 the possibility of prejudice to those opposing disclosure; and (6) the
                 purposes for which the documents were introduced during the
                 judicial proceedings.
Leopold v. United States, 964 F.3d 1121, 1131 (D.C. Cir. 2020) (quoting Metlife, Inc. v. Fin.

Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017)).

        II.      Discussion

        The events surrounding January 6, 2021 and the media coverage that has since ensued is

unprecedented. The highly publicized nature of the event weighs heavily against public access

because of the strong likelihood of prejudice to Mr. Fitzsimons if video clips of him are released

to the public. Indeed, the likelihood of prejudice to Mr. Fitzsimons weighs more heavily against

public access than any countervailing factor.

        Regarding the first factor, the defense acknowledges the public’s need for access to the

events of January 6, 2021. However, the public need for the three videos introduced in Mr.

Fitzsimons’s detention hearing is less clear. In its application, the press coalition does not

articulate its need for the particular videos at issue. These three videos will do little to further the



                                                   2
           Case 1:21-cr-00158-RC Document 32 Filed 06/29/21 Page 3 of 6




national discussion of the events of January 6, but will do great harm to public perception of Mr.

Fitzsimons.

       The second and third Hubbard factors hardly move the needle. Previous public access to

the videos is limited to the detention hearing where the press coalition learned of their existence.

The only exception is one of the videos that was posted, and is presumably still available, online.

As to the third Hubbard factor, it is significant that the objecting party is the defendant. Mr.

Fitzsimons objects to safeguard his Sixth Amendment right to a fair trial by an impartial jury.

       The fourth Hubbard factor weighs in favor of non-disclosure. Public access should not be

granted when disclosure would expose the defendant “to public humiliation and degradation.” In

re Nat. Broad. Co., Inc., 653 F.2d 609, 620 (D.C. Cir. 1981). In this case, the press seeks

sensational images that will in fact expose Mr. Fitzsimons to public ruin.

       The fifth factor, most significant in this case, is the possibility of prejudice to Mr.

Fitzsimons. Disclosure would be highly prejudicial for a variety of reasons. Disclosure would

taint the jury pool and prevent Mr. Fitzsimons from receiving a fair trial by an impartial jury.

Potential jurors’ minds will be made up based on clips supporting a particular narrative before

Mr. Fitzsimons has the opportunity to challenge that narrative.

       Disclosure of the three video clips at issue would further prejudice Mr. Fitzsimons

because it does not contain the whole event but rather deliberately chosen clips to support a

certain argument. These clips show mere moments of Mr. Fitzsimons’s actions on January 6,

2021. Yet, if disclosed to the media and public, the videos have enormous potential to poison the

jury pool and prevent Mr. Fitzsimons from receiving a fair trial.

       In fact, several biased and incendiary articles have already been published. See

Insurrectionist Wearing Butcher Jacket And Armed With Unstrung Bow Claims "I Was There



                                                  3
           Case 1:21-cr-00158-RC Document 32 Filed 06/29/21 Page 4 of 6




For Peace," Daily Kos (Mar. 1, 2021), https://www.dailykos.com/stories/2021/3/1/2018769/-

Insurrectionist-Wearing-Butcher-Jacket-And-Armed-With-Unstrung-Bow-Claims-I-Was-There-

For-Peace (calling Mr. Fitzsimons a “racist conspiracy theorist” and encouraging readers to

“listen to his bullshit.”); Paul P. Murphy, Capitol riot defendant has history of intimidating

lawmakers, made racist speech at public hearing, CNN (Feb. 7, 2021),

https://edition.cnn.com/2021/02/07/us/capitol-riot-defendant-racist-public-hearing/index.html.

       Armed with video clips showing brief moments of Mr. Fitzsimons’s actions on January 6,

the potential for prejudice is even greater. CNN created a documentary about the events of

January 6 entitled “Assault on Democracy.” Brian Stelter, 'Assault on Democracy' explores the

roots of January 6 and why it matters today, CNN (June 20, 2021),

https://www.cnn.com/2021/06/20/media/assault-on-democracy-reliable-sources/index.html. If

videos of Mr. Fitzsimons appeared in a similar format, it would be impossible for potential jurors

to remain impartial. Speaking about the impact of the videos, Judge Paul Friedman remarked that

he wished “that every member of Congress would be required to view them, because they're

chilling.” Katelyn Polantz, How CNN obtained the dramatic videos of the US Capitol riot, CNN

(June 20, 2021), https://www.cnn.com/2021/06/20/politics/cnn-capitol-riot-videos/index.html.

Judge Emmett Sullivan told CNN, “every time I look at these videos, it just chokes me up.” Id. If

judges, trained to be neutral arbitrators, have a strong emotional reaction to the videos, potential

jurors will undoubtedly be prejudiced against Mr. Fitzsimons.

       Finally, regarding the final Hubbard factor, the fact that this case is in the early stage is

important. This case is not in the actual trial phase, and the videos which petitioner requests have

been introduced with respect to detention decisions. Granting public access to these videos prior




                                                  4
           Case 1:21-cr-00158-RC Document 32 Filed 06/29/21 Page 5 of 6




to trial poses a substantial risk that the jury pool will be tainted, and Mr. Fitzsimons will be

deprived of his Sixth Amendment right to a fair trial by an impartial jury.

       III.    Conclusion

       If the videos requested by the petitioners are released to the public there is a great risk of

prejudice to Mr. Fitzsimons. The risk that sensational media coverage will taint the jury pool and

deprive Mr. Fitzsimons of his Sixth Amendment right to a trial by an impartial jury greatly

outweighs any countervailing factors. Therefore, the petitioners request must be denied.




                                                       Respectfully submitted,



                                                       /s/ Natasha Taylor-Smith
                                                       NATASHA TAYLOR-SMITH
                                                       Assistant Federal Defender




                                                  5
          Case 1:21-cr-00158-RC Document 32 Filed 06/29/21 Page 6 of 6




                                 CERTIFICATE OF SERVICE


        I, Natasha Taylor-Smith, Assistant Federal Defender, Federal Community Defender

Office for the Eastern District of Pennsylvania, hereby certify that I caused a copy of the

foregoing Defendant’s Response to Application Regarding Video Exhibit Release to be served

by Electronic Case Filing (“ECF”) upon Brandon Regan and Puja Bhatia, Assistant United States

Attorneys, United States Attorney’s Office, 555 4th St., NW, Washington, DC 20530; and

Charles D. Tobin, Esq., Maxwell S. Mishkin, Esq., and Lauren Russell, Esq., Ballard Spahr,

1909 K Street, NW, 12th Floor, Washington, DC 20006.




                                                     /s/ Natasha Taylor-Smith
                                                     NATASHA TAYLOR-SMITH
                                                     Assistant Federal Defender

DATE:          June 29, 2020
